UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------X
JUAN MARTINEZ, et al.,

                          Plaintiffs,                          CLERK=S CERTIFICATE
                                                               OF DEFAULT
        - against -                                            CV 21-3613 (GRB) (JMW)

FELIKS & SONS STORAGE TANK CORP.,
FELIKS & SONS SERVICES, LLC, and
FELIKS SWIERZEWSKI.

                           Defendants.
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        I, Douglas C. Palmer, Clerk of Court for the United States District Court for the Eastern

District of New York, do hereby certify that defendants FELIKS & SONS STORAGE TANK

CORP., and FELIKS & SONS SERVICES, LLC, have not filed an answer or otherwise moved

with respect to the complaint, and that the time to answer or move has expired.

        The defaults of defendants FELIKS & SONS STORAGE TANK CORP., and FELIKS &

SONS SERVICES, LLC, are hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure.


Dated: January 14, 2022
       Central Islip, New York


                                                               DOUGLAS C. PALMER
                                                               CLERK OF THE COURT

                                                         BY:   /S/ JAMES J. TORITTO
                                                               DEPUTY CLERK
